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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES                            *
                                         *
      v.                                 *       Case No. 21-cr-00069-APM-1
                                         *
JORGE A. RILEY                           *
                                         *
*     *        *     *    *     *        *       *   *     *     *     *      *

                     APPEAL OF ORDER OF DETENTION

      COMES NOW the Defendant, Jorge Riley, by and through his attorney,

Michael E. Lawlor and William C. Brennan, Brennan, McKenna & Lawlor, Chtd.,

and appeals the order of detention issued on January 27, 2021. In support of this

pleading, counsel state the following.

                                    Introduction

      On January 18, 2021, a sealed complaint was filed charging Mr. Riley with

(1) obstructing or impeding an official proceeding in violation of 18 U.S.C. §

1512(c)(2); knowingly entering or remaining in a restricted building or grounds

without lawful authority in violation of 18 U.S.C. § 1752(a)(1)&(2); and (3) violent

entry and disorderly conduct on capitol grounds in violation of 40 U.S.C. §

5104(e)(2)(D)&(G). Mr. Riley was arrested at his home on January 19, 2021, and

brought before the Honorable Deborah Barnes, United States Magistrate Judge for

the Eastern District of California sitting in Sacramento, on January 20, 2021 for his
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initial appearance, after which he was temporarily detained.1 Mr. Riley’s detention

hearing was continued on January 25, 2021. On January 27, 2021, Mr. Riley

appeared before United States Magistrate Judge Carolyn K. Delaney, for a detention

hearing via Zoom, and was detained at the conclusion of that hearing. The Order of

Detention is filed in the instant case at ECF 10.

         On February 3, 2021, an indictment was filed charging Mr. Riley with: (1)

obstructing or impeding an official proceeding in violation of 18 U.S.C. § 1512(c)(2)

and aiding and abetting (18 U.S.C. § 2); entering and remaining in a restricted

building or grounds in violation of 18 U.S.C. § 1752(a)(1); and (3) disorderly and

disruptive conduct in a restricted building in violation of 18 U.S.C. § 1752(a)(2); (4)

disorderly conduct in a capitol building in violation of 40 U.S.C. § 5104(e)(2)(D)

and (5) parading, demonstrating, or picketing in a capitol building in violation of 40

U.S.C. § 5104(e)(2)(G).

         At this time, Mr. Riley respectfully files this appeal challenging Magistrate

Judge Delaney’s order denying his request for release pending trial.




1   The case was assigned the following number in the Eastern District of California, 21-mj-00013.
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                                 Standard of Review


      “If a person is ordered detained by a magistrate judge, or by a person other

than a judge of a court having original jurisdiction over the offense and other than a

Federal appellate court, the person may file, with the court having original

jurisdiction over the offense, a motion for revocation or amendment of the order.

The motion shall be determined promptly.” 18 U.S.C. § 3145(b). When acting on

such a motion, the court reviews the Magistrate Judge’s order de novo. United States

v. Koenig, 912 F.2d 1190, 1191 (9th Cir. 1990); United States v. Hudspeth, 143

F.Supp.2d 32, 36 (D.D.C. 2001) (citing Koenig and adopting the de novo standard

of review).


                                     Argument

      In determining the applicable standard of review when there is an appeal of a

review of an order of detention, federal law has traditionally provided that a person

arrested for a non-capital offense shall be admitted to bail. United States v.

Motamedi, 767 F. 2d 1403, 1405 (9th Cir. 1985), citing Stack v. Boyle, 342 U.S. 1,

4 (1951). Only in rare circumstances should release be denied. Motamedi, 767 F. 2d

at 1405. Furthermore, doubts regarding the propriety of release should be resolved

in favor of the defendant. Id.


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      The Bail Reform Act of 1984 (“the Act”) mandates that pretrial detention is

permissible only where:

      After a hearing pursuant to the provision of 18 U.S.C. § 3142 (f) the
      judicial officer finds that no condition or combination of conditions will
      reasonably assure the appearance of the person as required and the
      safety of any other person and the community.

18 U.S.C. § 3142(e).

      Undersigned counsel argues that the magistrate court’s order was substantially

flawed in that it failed to find that no condition or combination of conditions will

reasonably assure the Defendant’s appearance or the safety of the community, as

required by substantive due process.

      The Court is required to consider and dispose of every alternative before

ordering pretrial incarceration under the Bail Reform Act. The alternatives provided

by statute are well known to this Court, and are contained in 18 U.S.C. § 3142.

Congress has determined that an individual may only be detained pending trial where

the judicial officer finds that “no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any

other person and the community. 18 U.S.C. § 3142(e). Detention of any person

absent these findings constitutes a violation of substantive due process. United States

v. Salerno, 481 U.S. 739, 746-47 (1987). The Order of Detention in this case, while

the appropriate boxes are checked, the transcript of the detention hearing reveals that
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Magistrate Judge Delaney failed to analyze why her specific concerns could not be

reduced if not eliminated by supervision through Pretrial Services. As this Court

reviews the order of detention, de novo, the following is submitted to support the

position that Mr. Riley can be safely released into the community without a risk of

flight.

          Mr. Riley is 42 years of age and is a disabled veteran of the United States

Army, having been honorably discharged in 2003 after 18 years of service. Mr. Riley

describes himself as poor, living mostly on the $750 per month he receives in

veteran’s benefits. Due to his status as a disabled veteran, he is not employed, but

has studied at the college-level since his discharge from the armed forces.

          Mr. Riley is a resident of Sacramento, California, where he has lived in the

same rented duplex for two years. However, prior to obtaining this housing, with

governmental assistance, Mr. Riley was homeless. His continued detention will put

his housing at risk. Further, Mr. Riley’s estranged wife has repeatedly broken into

his home and she is currently a defendant in a criminal case stemming from an

assault against Mr. Riley. Mr. Riley has spent the majority of his adult-life in

California, with brief domestic travel related to his service in the Army. He has

never travelled internationally and does not have a passport. Pretrial Services




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interviewed several of Mr. Riley’s friends who have expressed their willingness to

assist Mr. Riley were he to be released.

      Mr. Riley faces charges, that while serious, do not involve violence

participated in by Mr. Riley. As an example of Mr. Riley’s dangerousness, the

Government points to a Facebook post of his “you will all die.” The Government

takes this post out of context. The post, which has since been removed by Mr. Riley

was in response to threats that were levied against him by a radical group. The post

was not directed at members of Congress or anyone in the Capitol on January 6,

2021. Mr. Riley is not charged with anything regarding that post, or any other

internet posting.

      Despite being charged with non-violent crimes, detention presents a serious

risk to Mr. Riley given his preexisting medical conditions and the largely

uncontrolled COVID-19 pandemic in institutional settings, such as detention

facilities. Mr. Riley has serious medical and mental health concerns that this Court

should consider in making a determination as to Mr. Riley’s detention. It should

also be noted that Courts have not resumed full operations since the pandemic began

– there are no jury trials currently scheduled for the foreseeable future and there is

no way to know when Mr. Riley may be scheduled for trial.




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        Mr. Riley first tested positive for tuberculosis in his childhood and continues

to test positive for the disease. Tuberculosis (TB) researcher and genomics expert

Faramarz Valafar, a professor at San Diego State University’s School of Public

Health has sounded the alarm for patients with latent TB facing the COVID-19

pandemic,

        When people get sick with SARS-CoV-2, they could not only activate
        their latent TB, but also transmit their TB along with SARS-CoV-2 to
        others. The U.S has been spared from the wrath of drug resistant TB so
        far, but may no longer be that lucky. We need to prepare. We may start
        seeing strains that are atypical in the United States very soon.

See Nagppan, P., COVID-19 Could Activate Latent Tuberculosis, September, 22,

2020,     https://newscenter.sdsu.edu/sdsu_newscenter/news_story.aspx?sid=78173.

Continued detention poses a grave risk that Mr. Riley will be infected with SARS-

CoV-2, and will develop a serious and even fatal case of COVID-19. Further, he is

at risk of his TB reactivating and being spread to those housed with Mr. Riley. Mr.

Riley also suffers from serious depression, for which has been heavily medicated in

the past. Pretrial Services indicates in their reports that Mr. Riley is willing to submit

to any condition the Court may place on his release. In short, this Court can craft

conditions of release that will ensure both the safety of the community and that Mr.

Riley’s will appear in Court as directed, whenever that may be.




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      Wherefore, in light of the foregoing information and argument, and any

additional information and argument to be presented at the time of the hearing in this

case, the Defendant respectfully argues that this Court may establish and order a

condition, or combination of conditions, that will reasonably assure that the

Defendant will be present at the trial of this case.

                                        Respectfully submitted,

                                              /s/
                                        ______________________
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this day, February 19, 2021, a copy of the foregoing

was sent via ECF to the United States Attorney’s Office for the District of Columbia.


                                            /s/
                                       ______________________
                                       Michael E. Lawlor




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